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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                    Case Number: 20-21209-MC-MARTINEZ-OTAZO-REYES

  OREO CORP.,
       Plaintiff,

  vs.

  LAWRENCE J. WINNERMAN, et al.,
        Defendants.
  _____________________________________/
                          ORDER VACATING WRIT OF EXECUTION
         THIS MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States
  Magistrate Judge, for a Report and Recommendation on Plaintiff’s Motion to Vacate Writ of
  Execution (“Motion”), (ECF No. 54).         Magistrate Judge Otazo-Reyes filed a Report and
  Recommendation, (ECF No. 60), recommending that (1) the Motion be granted; and (2) the Writ
  of Execution, (ECF No. 53), be vacated. In light of the parties’ agreement and after careful
  consideration of the pertinent portions of the record, the Court finds as follows:
         It is ADJUDGED that United States Magistrate Judge Otazo-Reyes’s Report and
  Recommendation, (ECF No. 60), is AFFIRMED and ADOPTED.
         IT IS FURTHER ADJUDGED that:
         1.      Plaintiff’s Motion to Vacate Writ of Execution, (ECF No. 54), is GRANTED.
         2.      The Writ of Execution issued by the Clerk, (ECF No. 53), is hereby VACATED.
         DONE AND ORDERED in Chambers at Miami, Florida, this 8th day of June, 2021.




                                                        ____________________________________
                                                        JOSE E. MARTINEZ
                                                        UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All Counsel of Record
